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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 RIAN HELGASON and CAROLINE                          §
 CRAWFORD,                                           §
      Plaintiffs,                                    §
                                                     §     CIVIL ACTION NO. 3:20-cv-01573-S
 vs.                                                 §
                                                     §
 PERRY’S RESTAURANTS, LTD.                           §     JURY DEMANDED
      Defendant                                      §

DEFENDANT’S MOTION TO QUASH SUBPOENA DUCES TECUM TO NON-PARTY
              ADP, INC. AND FOR PROTECTIVE ORDER

        Pursuant to the Federal Rules of Procedure 26 and 45, DEFENDANT PERRY’S RES-

TAURANTS, LTD. (“Perry’s” or “Defendant”) files this Motion to Quash Subpoena Duces Tecum

to Non-Party ADP, Inc. and for Protective Order (“Motion”), respectfully showing as follows:

                            I. INTRODUCTION AND BACKGROUND

        Plaintiffs are seeking an expansive array of documents from ADP, Inc. (“ADP”), through

the mechanism of a FED. R. CIV. P. 45 subpoena duces tecum (“ADP Subpoena”). The ADP Sub-

poena on its face reveals that the requests seek documents wholly unrelated to Plaintiffs’ individual

claims or to the matters they have specifically raised that are at issue in this case. Indeed, the

expansive scope of the ADP Subpoena appears to be more consistent with an attempt to engage in

discovery in a collective action than in a lawsuit involving only two individual Plaintiffs, even

though this Court has denied Plaintiffs’ motion seeking to pursue this case as a collective action.

See Mem. Op. and Order, filed Nov. 10, 2021, Dkt. No. 49.1


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     Perry’s is in fact concerned that Plaintiffs’ ADP Subpoena is merely a technique to identify potential
additional “opt-in recruits” for an identical lawsuit filed in the United States District Court for the Western
District of Texas in January 2022 as a collective action by the same Plaintiffs’ counsel, styled Candice
Paschal and Pedro Zarazua, Jr., v. Perry’s Restaurants, Ltd., et al, Civil Action No. 1:22-CV-00027-RP
(W.D. Tex.) (“Paschal Lawsuit”). The Paschal Lawsuit asserts the identical allegations initially asserted in
this case.


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        Plaintiffs have given notice of an intention to seek production of such documents from

ADP by March 25, 2022. See Exhibit “A.” Because the ADP Subpoena is unduly burdensome

under FED. R. CIV. P. 45(d)(3)(A)(iv) and exceeds the bounds of permitted discovery under FED.

R. CIV. P. 26, it should be quashed, accompanied by an order from the Court protecting ADP from

compliance.

                                  A. THE ISSUES IN THIS CASE

        1.     In the wake of this Court’s Memorandum Opinion and Order of November 10,

2021, Dkt. No. 49, this case presently involves FLSA claims solely on behalf of the two named

Plaintiffs.

        2.     Generally speaking, for purposes of the document requests at issue, Plaintiffs’

claims focus upon Perry’s handling of tip pool distributions and its side work assignments to these

two individuals.

                               B. PRIOR DISCOVERY IN THIS CASE

        1.     In connection with such claims, Plaintiffs previously issued written discovery to

Perry’s, including document requests. Those document requests are attached as Exhibit “B.”

        2.     As set forth in Perry’s response to those discovery requests, see Exhibit “C,” Perry’s

did object to the breadth of several of the document requests. In doing so, Perry’s pointed out that

Plaintiffs’ tip pool claim focused specifically upon Perry’s handling of tip pool proceeds. Perry’s

objected that the two Plaintiffs could only pursue such a claim during those pay periods when they

actually worked for Perry’s as servers, particularly in light of the Court’s November 10 Order. See

Dkt. No. 49.

        3.     Even so, in response to the document requests, Perry’s has to date produced over

6,250 pages of documents, which are identified in the Index attached as Exhibit “D.” Such docu-

ments address all of Plaintiffs’ document requests pertaining to their tip pool and side work claims.



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       4.      For example, the documents identify the handling of tip pool proceeds for all eligi-

ble recipients for each week that either Plaintiff was employed with Perry’s, at the location where

either of them was specifically employed.

                              C. PLAINTIFFS’ SUBPOENA TO ADP

       1.      Plaintiffs are aware from paycheck stubs they produced in this case, and from

paycheck stubs produced by Perry’s, that Perry’s has utilized the services of the payroll company

ADP for preparation of (among other things) its payroll processing for the locations where the two

Plaintiffs have worked.

       2.      Plaintiffs have accordingly issued the ADP Subpoena, which contains ten requests

for production:

       (a)     Copies of reports identifying job codes and pay rates for Perry’s hourly employees,
               paycheck calculations, paycheck amounts, and payroll taxes subtracted from hourly
               employees’ wages.

       (b)     Copies of employee and payroll deduction reports, logs, and any other records with
               automatic or manually entered deductions from employee wages. This includes
               Perry’s employee deduction pages and reports with the following deduction codes:
               CCR-Cred Card Reimb, T-Tips, TSC-Tip Share Paid, TSR-TIP Share Reimb, and
               UNF-Uniform.

       (c)     Copies of Perry’s “Employee Labor Distribution Summary Reports” for all hourly
               employees by “Home Dept” at each of the locations identified above (see Defini-
               tions and Instruction, A.) for 2017, 2018, 2019, and 2020.

       (d)     Copies of “Pay Detail Reports” for Perry’s hourly employees whose gross pay in-
               cludes one or more of the following: “Tips,” “Total Gratuities,” “TIP SHARE
               PAID,” or “TIP EARN,” sorted by name, job code, and pay period for 2017, 2018,
               2019, and 2020.

       (e)     Copies of W-2 and earning statements for all Perry’s hourly employees whose gross
               pay includes one or more of the following: “Tips,” “Total Gratuities,” “TIP SHARE
               PAID,” or “TIP EARN,” sorted by name, job code, and pay period for 2017, 2018,
               2019, and 2020.

       (f)     Copies of “Timecard Detail Reports with Signature” for all hourly directly tipped
               employees (“DT”) and hourly indirectly tipped employees (“IDT”) for 2017, 2018,
               2019, and 2020.



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       (g)     Copies of “Timecard Report with Notes with Loc and Dept” for all hourly directly
               tipped employees (“DT”) and hourly indirectly tipped employees (“IDT”) for 2017,
               2018, 2019, and 2020.

       (h)     Copies of “Weekly Schedule Report” for all hourly directly tipped employees
               (“DT”) and hourly indirectly tipped employees (“IDT”) for 2017, 2018, 2019, and
               2020.

       (i)     Copies of employee schedules, clock-in and clock-out records, timesheets, or time
               tracking reports for Perry’s hourly employees whose gross pay includes one or
               more of the following: “Tips,” “Total Gratuities,” “TIP SHARE PAID,” or “TIP
               EARN,” sorted by name, job code, and pay period for 2017, 2018, 2019, and 2020.

       (j)     Copies of Perry’s operational procedures, documented operation procedures, em-
               ployee handbook(s), job descriptions, rules and regulations regarding payroll codes
               and compliance, time tracking, scheduling, and time and attendance procedures,
               and procedures regarding rules and regulations maintained by Perry’s on any of
               ADP’s software or programs, including ADP Time and Attendance Management
               program and ADP Workforce Now.

       3.      Under applicable Rules of Procedure, the Subpoena is overly broad, burdensome

and duplicative, and should be quashed. Examples of such overbreadth abound in the Subpoena’s

document requests, such as where the Subpoena seeks production in several of the above requests

of records pertaining all of Perry’s hourly employees at the locations in question, ignoring the fact

that many of these employees have nothing to do with the tip pool contributions by the two named

plaintiffs, nor the tip pool distributions to the eligible recipients, nor the amount of side work

performed by the two named plaintiffs, nor whether either of them was ever subject to a uniform

deduction.

                            II. ARGUMENT AND AUTHORITIES

                                 A. LEGAL STANDARD: RULE 45

       1.      Pursuant to Rule 45, a court must modify or quash a subpoena that, among other

things, is unduly burdensome, and a facially overbroad subpoena is unduly burdensome. Fed. R.

Civ. P. 45(d)(3); see also Orchestrate HR, Inc. v. Trombetta, No. 3:13-cv-2110, 2014 WL 772859, at

*2 (N.D. Tex. Feb. 27, 2014).



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       2.      When a party seeks the disclosure of confidential commercial information through a

subpoena, the party seeking discovery must show a substantial need for the information. Id. at *4.

       3.      And when a party issues a subpoena to a non-party seeking the production of docu-

ments that have already been requested from and produced by the opposing party, a court may quash

such requests as cumulative. Chaput v. Griffin, No. 3:14-mc-131, 2014 WL 7150247, at *5 (N.D. Tex.

Dec. 16, 2014) (quashing a subpoena to a non-party that sought medical records that were already

produced by the defendant).

                                B. LEGAL STANDARD: RULE 26

       1.      Rule 26 imposes limits on the type of discovery a party can seek in prosecuting her

claims. FED. R. CIV. P. 26(b)(1) recites that:

       Parties may obtain discovery regarding any non-privileged matter that is relevant
       to any party's claim or defense and proportional to the needs of the case, consid-
       ering the importance of the issues at stake in the action, the amount in controversy,
       the parties’ relative access to relevant information, the parties’ resources, the im-
       portance of the discovery in resolving the issues, and whether the burden or ex-
       pense of the proposed discovery outweighs its likely benefit.

See FED. R. CIV. P. 26(b)(1) (emphasis added).

       2.      The Court is empowered by FED. R. CIV. P. 26(c)(4) to limit the scope of discovery

when it determines that the proposed discovery is outside the scope permitted by Rule 26(b)(1).

See FED. R. CIV. P. 26(c)(4).

       3.      As the Fifth Circuit has indicated, undue burden within the context of Rules 26 and

45 requires the Court to focus upon 1) relevance of information requested; 2) the need of the party

for the documents; 3) breadth of the document request; 4) time period covered by the request; 5)

particularity with which the party described the requested documents; and 6) the burden imposed.

Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818 (5th Cir. 2004).

       4.      Perry’s contends that it has satisfied this standard and demonstrated the undue burden

of compliance with the ADP Subpoena.


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                  C. APPLICATION OF RULES 26 AND 45 TO THE ADP SUBPOENA:
                     SUBPOENA IS FACIALLY OVERBROAD AND BURDENSOME

        1.       This Court has previously reviewed the Plaintiffs’ claims regarding tip pool han-

dling, side work assignments and uniform deductions, for purposes of determining the propriety

of collective action status. See November 10 Order, Dkt. No. 49. The Court’s evaluation of Plain-

tiffs’ claims in the November 10 Order identifies the relevant facts for such claims, and the indi-

vidualized nature of each claim for these two Plaintiffs. The Court can therefore appreciate the

extent to which the document requests in the ADP Subpoena are completely out of proportion to

the issues in this lawsuit.

        2.       The requests in the ADP Subpoena seek information that is irrelevant to Plaintiffs’

claims. For example, Plaintiffs seek from ADP documentation identifying job codes and pay rates for

Perry’s hourly employees, instead of only seeking pay rates for servers and tip recipient employees.

See Exhibit A, Request No. 1.2

        3.       Perry’s further contends that the ADP Subpoena is improper in scope and seeks

irrelevant documentation because it contains requests that seek exponentially greater amounts of

documentation than are relevant or contemplated by Fed. R. Civ. P. 26(b).

        4.       Similarly, Plaintiffs have no need for these documents. Some of the requested doc-

uments have already been produced by Perry’s in this case. For example, the ADP Subpoena re-

quests copies of W-2 and earning statements for all Perry’s hourly employees whose gross pay

includes any mention of “tips” from 2017-2020. See Exhibit “A,” Request No. 5. But Perry’s has

already produced to Plaintiffs the applicable earning statements of the tip pool recipients. The




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      Such request ignores the fact that Perry’s has already produced to Plaintiffs documents clearly identi-
fying the pay rates for the two plaintiffs and for all the tip pool recipients who received a pro rata share of
the tip pool during each week that either Plaintiff actually performed work as a server at a particular Perry’s
location.


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documents specified in the ADP Subpoena requests are not necessary to prove Plaintiffs’ claims.

Plaintiffs were already provided with the relevant documentation by Perry’s.

        5.      The ADP Subpoena is cumulative because it seeks documents that have already

been produced by Perry’s. Rule 26(b)(2)(C)(i) instructs courts to limit discovery that is unreason-

ably cumulative or duplicative. See Fed. R. Civ. P. 26(b)(2)(C)(i); see also Chaput, 2014 WL

7150247, at *5. Perry’s has already produced relevant pay stubs, tip pool and tip share records, the

employee handbook, and relevant W-2s. Plaintiffs’ attempt to further seek these documents from a

third party serves no purpose.3 Finally, the burden imposed on both Perry’s and ADP necessitates

that the ADP Subpoena be quashed, particularly if ADP attempts to seek recovery of costs of

compliance.

                                           III. CONCLUSION

        For the foregoing reasons, Perry’s Restaurants, Ltd. respectfully requests that the Court

quash the subpoena to ADP and issue an order protecting ADP from compliance with it. Perry’s

further requests all other and further relief as the Court may deem appropriate.




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      In light of Plaintiffs’ counsel’s challenges to Perry’s efforts to maintain the confidentiality of docu-
ments it has received, so as to oblige Perry’s to submit to the Court a motion justifying such a need that is
being filed contemporaneously with this Motion, Perry’s also points out to the Court its concern that Plain-
tiffs should not be able to evade the intent and scope of the recently entered Protective Order, Dkt. No. 53,
by seeking such confidential information from another source that is contractually required to maintain the
confidentiality of such instruments.


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        SIGNED this 22nd day of March, 2022.

                                                     Respectfully submitted,

                                                     JACKSON WALKER LLP


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ATTORNEYS FOR DEFENDANT
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                                CERTIFICATE OF SERVICE
        I hereby certify that on this 22nd day of March, 2022, service of a true copy of the above
and foregoing Motion to Quash Subpoena Duces Tecum to Non-Party ADP, Inc. and for Protective
Order has been accomplished through notice of electronic filing, and also by sending a duplicate
of this pleading by electronic mail to counsel for Plaintiffs at drew@herrmannlaw.com, pam-
ela@herrmannlaw.com,

                                                            Lionel M. Schooler
                                                     Lionel M. Schooler




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